    2:17-cv-12989-GCS-EAS   Doc # 15       Filed 12/27/17   Pg 1 of 2   Pg ID 55




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

ROCHELLE HODGE,                        )
                                       )
     Plaintiff,                        )
                                       )
     v.                                )       Case No. 2:17-cv-12989-GCS-EAS
                                       )
SUMMIT RECEIVABLES and                 )
ANTHONY GUADAGNA,                      )
                                       )
     Defendant.                        )

                  NOTICE OF VOLUNTARY DISMISSAL

     Plaintiff, ROCHELLE HODGE, (“Plaintiff”), through her attorney, Agruss

Law Firm, LLC, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

voluntarily dismisses this case, with prejudice, against Defendants, SUMMIT

RECEIVABLES, and ANTHONY GUADAGNA.


December 27, 2017           Respectfully submitted,
                            AGRUSS LAW FIRM, LLC


                       By: /s/ Michael S. Agruss
                              Michael S. Agruss, IL ARDC No. 6281600
                              4809 N. Ravenswood Avenue, Suite 419
                              Chicago, IL 60640
                              312-224-4695 – office
                              312-253-4451 – facsimile
                              michael@agrusslawfirm.com
                              Attorney for Plaintiff
     2:17-cv-12989-GCS-EAS      Doc # 15   Filed 12/27/17   Pg 2 of 2   Pg ID 56




                         CERTIFICATE OF SERVICE

      On December 27, 2017, I electronically filed the Notice of Voluntary
Dismissal with the Clerk of the U.S. District Court, using the CM/ECF system. I e-
mailed a copy of the filed Notice of Voluntary Dismissal to Defense Counsel, Allicia
Tomolo, at abtomolo@gmail.com.

                         By: /s/ Michael S. Agruss
                                Michael S. Agruss
